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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                               Case No.: 1:20-cv-23278-DPG

   UNITED STATES OF AMERICA,

               Plaintiff,

         v.

   APPROXIMATELY $9,105,221.62 IN FUNDS (PLUS
   INTEREST) CURRENTLY HELD BY THE UNITED
   STATES MARSHALS SERVICE REPRESENTING 95%
   OF THE NET PROCEEDS FROM THE SALE OF THE
   REAL PROPERTY LOCATED AT 500 WEST
   JEFFERSON STREET, LOUISVILLE, KY 40202
   KNOWN AS PNC PLAZA,

               Defendant.
   _______________________________________/

       CLAIMANTS’ MOTION TO DISMISS THE FIRST AMENDED COMPLAINT
                            WITH PREJUDICE
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          Claimants Mordechai Korf, Uriel Laber, Optima CBD Investments LLC (“Optima CBD”),

   and CBD 500, LLC (“CBD 500,” and, collectively, “Claimants”) respectfully submit this

   memorandum of law in support of their Motion to Dismiss the First Amended Complaint (D.E.

   187) (the “FAC”), dated January 5, 2023, filed by plaintiff the United States of America (the

   “United States” or “Government”), with prejudice.

                                       PRELIMINARY STATEMENT

          This Court dismissed the Government’s initial complaint, ruling that it named a non-

   cognizable in rem defendant through an “unorthodox” forfeiture strategy that improperly rendered

   its claims in personam rather than in rem. But the FAC fares no better. It too must be dismissed,

   this time with prejudice, because of two dispositive defects that cannot be cured. First, the FAC is

   time-barred under the applicable statute of limitations. Second, the FAC does not meet the

   heightened pleading standard for forfeiture actions, as it fails to adequately allege that the instant

   in rem defendant is substantially connected to criminal conduct.

          The FAC alleges that two Ukrainian billionaires, Ihor Kolomoisky and Gennaidy

   Boholiubov, misappropriated funds through a fraudulent loan scheme involving PrivatBank, a

   Ukrainian bank they owned, and then laundered those funds, in part, by investing them in U.S.-

   based assets. In 2011, an entity owned by Kolomoisky, Boholiubov, and their American partners,

   Claimants Korf and Laber, allegedly used $13 million of the proceeds from two of those

   purportedly fraudulent Ukrainian loans to purchase PNC Plaza, real property located in Louisville,

   Kentucky. In 2018, as part of a foreclosure process, PNC Plaza was sold to a new entity owned by

   Claimants Korf, Laber, and an unrelated joint venture partner (“Firm A”), with funds that are not

   alleged to derive from any fraudulent PrivatBank loans or from any other unlawful conduct. In
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   November 2020, PNC Plaza was sold, under the supervision of the Government, to Firm A. The

   instant defendant is $9.1 million of the proceeds derived from that November 2020 sale.

          The FAC must be dismissed as time-barred under the one-year limitations period in 18

   U.S.C. § 984(b), which applies because the FAC seeks the forfeiture of cash that cannot be directly

   traced to an unlawful offense. As detailed below, the Government has not traced and cannot trace

   the defendant proceeds to allegedly fraudulent PrivatBank loans or any other alleged criminal

   offense. The FAC is therefore untimely because it was filed in January 2023, well more than a year

   after the latest possible “offense” at issue, i.e., the November 2020 sale of PNC Plaza the

   Government itself supervised.

          Nor can the FAC’s time-barred claims be saved by the relation back doctrine. Under Rule

   15(c)(1)(C), that doctrine would only apply to the FAC in the event the Government’s initial

   complaint mistakenly named an improper defendant in the original complaint. But the Government

   has already admitted the flaw in its initial pleading was no mistake. In fact, the Government

   insisted for more than two years, including in response to Claimants’ arguments that the initial

   defendant was not a cognizable in rem defendant, that it named the initial (and wrong) defendant

   as the result of an intentional, deliberate and strategic decision. It therefore cannot rely on the

   relation back doctrine, and the FAC’s claims must be measured from its filing in January 2023.

          The FAC must be dismissed for an additional reason. The Government has failed to

   plead—with the heightened particularity for in rem forfeiture actions required by Supplemental

   Rule E(2) or otherwise—a substantial connection between the current in rem defendant and

   underlying criminal activity. Even though this is a requisite element for each of the Government’s

   claims, the Government does not even attempt to meet it. Notably, the FAC does not allege that

   the defendant asset is substantially connected to the allegedly fraudulent PrivatBank loan proceeds



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   used to purchase PNC Plaza in 2011. Nor does the FAC sufficiently allege that the funds used by

   Korf and Laber to purchase PNC Plaza in the 2018 foreclosure sale were substantially connected

   to illegal conduct. There is no allegation at all that those funds were the proceeds of fraudulent

   PrivatBank loans, or any other illegal conduct. Instead, the FAC contains but a single allegation,

   which is unsupported and conclusory, that the 2018 transaction was intended for an unlawful

   purpose simply because Korf and Laber were supposedly on both sides of the transaction. This

   pleading deficiency alone requires dismissal.

                                    FACTUAL BACKGROUND1

   A.     The 2011 PNC Plaza Investment

          The FAC alleges that two prominent Ukrainian business magnates, Ihor Kolomoisky and

   Gennaidy Boholiubov, used their ownership and control of PrivatBank, one of the largest banks in

   Ukraine, “to steal billions of dollars of the bank’s funds,” which they then purportedly laundered

   through a vast network of accounts and entities, and ultimately invested in the United States. See

   FAC ¶¶ 13-15, 19-22, 29.

          According to the FAC, two Miami-based businessmen, Mordechai Korf and Uriel Laber,

   allegedly played “critical roles” in Kolomoisky’s and Boholiubov’s laundering scheme “by

   establish[ing] a complex system of entities in order to facilitate the laundering of the

   misappropriated funds, and to invest the funds in property and businesses in the United States.”

   Id. ¶¶ 90, 99. One of these investments concerns PNC Plaza, real property located in Louisville,




   1
     This factual background is taken exclusively from the Government’s allegations in the FAC,
   which are presumed to be true for the purpose of this motion only. Claimants strongly contest the
   Government’s allegations and deny any wrongdoing. The Court is familiar with the factual
   background and Claimants respectfully refer to the R&R’s recitation of the background. See R&R
   at 4-13. Claimants include here only the detailed facts pertinent to each of its arguments.
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   Kentucky, acquired for $77,050,000 in September 2011 by Optima 500, LLC, (“Optima 500”), an

   entity owned collectively by Kolomoisky, Boholiubov, Korf and Laber. See id. at ¶¶ 105-106.2

          As alleged, the 2011 purchase of PNC Plaza was funded with: (1) deposits totaling $3.5

   million as part of the purchase contract; (2) Optima 500’s assumption of the $65,700,000

   outstanding mortgage on the property; and (3) $13,151,167.17 provided by Optima 500 to cover

   the remainder of the purchase price. See id. ¶¶ 107-109. The Government alleges the $13 million

   provided by Optima 500 is “directly traceable to two loans obtained from PrivatBank by

   Kolomoisky and Boholiubov (the “PrivatBank Loans”), and was the proceeds of embezzlement,

   misappropriation, and fraud.” Id. ¶ 24. According to the FAC, the PrivatBank Loans were

   fraudulent and violated Ukrainian law because they were based on a series of misrepresentations

   as to their purpose, the source of repayment and the collateral. See id. ¶¶ 48, 52-55, 70-79.

          The FAC purports to trace $13,151,167.17 from the two PrivatBank Loans in Ukraine

   “through several accounts at PrivatBank Cyprus,” “a convoluted journey to the United States” and

   ultimately “to an account at Regions Bank in the United States in the name of Optima Ventures,”

   an entity owned by Kolomoisky, Boholiubov, Korf, and Laber. Id. ¶¶ 110, 132-133. These funds

   were allegedly then used to purchase PNC Plaza “in the name of Optima 500.” Id. ¶ 135. The FAC

   does not identify or trace any other money used to purchase PNC Plaza to any unlawful activity.



   2
      A substantial portion of the allegations in the FAC detail various related-party loans and
   miscellaneous activities that have nothing to do with PNC Plaza or this action. See id. ¶¶ 49-69,
   80-102. Specifically, pages 11-16 and 17-25 of the FAC discuss facts and circumstances that have
   no relevance to the “approximately $9,105,221.62 in funds” actually at issue in this case, rendering
   the FAC an impermissible “shotgun” pleading that fails to comport with the lower standard set
   forth in Federal Rule of Civil Procedure 8(a)(2). See Barmapov v. Amuial, 986 F.3d 1321, 1325
   (11th Cir. 2021) (affirming dismissal of complaint with prejudice where it was a “shotgun pleading
   . . . rife with immaterial factual allegations, including five pages and 24 paragraphs of irrelevant
   details about the alleged criminal backgrounds of some of the defendants”). Under well settled
   Eleventh Circuit law, such pleadings are “fatally defective” and should be dismissed. See B.L.E.
   v. Georgia, 335 F. App’x 962, 963 (11th Cir. 2009).
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   B.     The 2018 Foreclosure and Purchase of PNC Plaza

          As alleged in the FAC, six years after purchasing PNC Plaza with purportedly tainted

   funds, on March 13, 2017, Optima 500 defaulted on its $65,700,000 mortgage and went into

   foreclosure on January 31, 2018. See id. ¶¶ 138-140. During the pendency of the foreclosure

   proceedings, the Government alleges that “Korf and Laber entered negotiations with a third-party

   investment firm, Firm A . . . [and] they agreed to enter a joint venture that altered the ownership

   structure of PNC Plaza.” Id. ¶ 142. The FAC expressly disavows any connection between Firm A

   and the PrivatBank Loans, acknowledging that “Firm A was an unrelated third-party investor,

   which, on information and belief, had no connection to the Optima Family of companies or

   Kolomoisky and Boholiubov’s misappropriation scheme from PrivatBank.” Id. ¶ 142, fn. 10. The

   Government does not seek the forfeiture of any interest or proceeds owned by or belonging to Firm

   A. See generally id. ¶¶ 4-5, 163.

          To effectuate this “restructuring”, the FAC alleges that Korf and Laber created a new entity

   in 2017, Claimant Optima CBD, which in turn formed Claimant CBD 500 in 2018, both of which

   the government alleges and acknowledges were “separate from Kolomoisky and Boholiubov’s

   ownership.” Id. ¶¶ 143-145. In 2018, CBD 500 together with Firm A formed a joint venture (the

   “Joint Venture”) for the purposes of holding PNC Plaza, of which Korf and Laber, through CBD

   500, held 95% while Firm A held 5%. See id. ¶ 147.

          In 2018, Firm A purchased the promissory note on PNC Plaza for approximately $27

   million. See id. ¶ 149. As alleged, this $27 million was funded in two parts: (1) “a loan of

   approximately $17 million from . . . a third-party lender;” and (2) a contribution of $10 million

   from Korf, Laber and Firm A, of which $9.5 million came from Korf and Laber using funds from

   “a different entity: Felman Trading Americas Inc.,” (“FTA”). Id. ¶¶ 154-155. Although the



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   Government alleges that FTA was “used to hide the involvement of Kolomoisky and Boholiubov

   in the ownership of PNC Plaza,” id. ¶ 156, there are no allegations that any of the $9.5 million

   FTA contributed to the 2018 purchase of PNC Plaza by the Joint Venture were derived from funds

   misappropriated from PrivatBank, or otherwise traceable to any specific unlawful activities. See

   generally id. ¶¶ 156-160.

          Thereafter, Firm A transferred the mortgage purchase agreement to the Joint Venture, and

   Korf and Laber, through Optima 500, transferred a Deed in Lieu of Foreclosure to the Joint

   Venture. See id. ¶¶ 150, 152. These transactions “extinguished the original promissory note” and

   resulted in the Joint Venture owning PNC Plaza. Id. ¶ 152. The Government nonetheless alleges

   that PNC Plaza remained under Korf and Laber’s control because “[t]hey in effect never stopped

   owning the real property,” but the FAC does not include any allegations, let alone specific

   allegations, that the 2018 sale of PNC Plaza to the Joint Venture was in furtherance of any unlawful

   activities. Id. ¶¶ 152-153.

   C.     The 2020 Government-Supervised Sale of PNC Plaza

          In 2019, Firm A offered to purchase PNC Plaza from the Joint Venture, which sale was

   consummated in 2020 for $22.25 million with the Government’s knowledge and under its

   supervision. See id. ¶¶ 161-166. There are no allegations that any of the sale proceeds were derived

   from or traceable to proceeds misappropriated from PrivatBank or any other specified unlawful

   activities. See generally id. ¶¶ 161-166.

          The Government now seeks to forfeit approximately $9,105,221.62 representing CBD

   500’s portion of the net proceeds received by the Joint Venture from the 2020 sale of PNC Plaza.

   See id. ¶¶ 166-167.




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                                      PROCEDURAL HISTORY

          The Government commenced this action in August 2020, filing a civil forfeiture complaint

   that named the rights of Optima CBD and CBD 500 to collect any profit from PNC Plaza as the in

   rem defendant. Case No. 20-cv-23279, D.E. 1 at ¶ 10. Claimants moved to dismiss, arguing, inter

   alia, that the complaint failed to allege a cognizable in rem defendant, and failed to plausibly allege

   a substantial connection between the funds used in connection with the 2018 and 2020 sales of

   PNC Plaza and the alleged 2011 criminal conduct in Ukraine. See 20-cv-23279, D.E. 78 at 16-18.

          Magistrate Judge Goodman agreed and recommended dismissal without prejudice. See

   Case No. 20-cv-23278, D.E. 164 at 69, 74 (the “R&R”). The R&R found that the Government

   chose to sue an improper res as the in rem defendant, thus rendering the suit one brought in

   personam or quasi in rem, as opposed to in rem as a civil forfeiture must be. Id. at 69-71, 74. The

   R&R reasoned that the Government’s decision “to pursue an unorthodox forfeiture strategy” gave

   rise to “a jurisdictional defect” and that “[b]y choosing to not name the real property as the in rem

   Defendant, the United States has, in effect, opted to pursue what seems more like an in personam

   action or perhaps a quasi in rem claim.” Id. at 69. The R&R found that the Government wrongly

   “based its forfeiture case [] on the alleged prior conduct of” Korf and Laber, because they

   purportedly “stood on both sides” of the 2018 sale of PNC Plaza, making the Government’s claims

   in personam as opposed to in rem. Id. at 70-71.

          On January 3, 2023, this Court affirmed, adopted the R&R and granted the United States’

   motion for leave to amend its complaint. Case No. 20-cv-23278, D.E. 185 and 186. On January 5,

   2023, the United States filed the FAC, naming as the in rem defendant “Approximately

   $9,105,221.62 in funds (plus interest) currently held by the United States Marshals Service

   representing 95% of the net proceeds from the sale of the real property located at 500 West



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    Jefferson Street, Louisville, KY 40202 known as PNC Plaza.” D.E. 187.

                                   APPLICABLE PLEADING STANDARD

           The applicable pleading standard is set forth in the R&R, and Claimants respectfully refer

    to and incorporate the Court’s prior recitation of it here. See D.E. 164, 58-60. In addition, to state

    a forfeiture claim, the United States must plead “sufficiently detailed facts” that a “substantial

    connection” exists between the property and alleged offense. 18 U.S.C. § 983(c)(3); United States

    v. $38,000 in United States Currency, 816 F.2d 1538, 1548 (11th Cir. 1987) (dismissal under Rule

    E(2)(a) for failure to allege substantial connection).

                                               ARGUMENT

  I.       The First Amended Complaint is Time-Barred

           Even though this case has been pending for more than two years and is based upon events

    that occurred more than a decade ago, the Government has failed to timely amend its complaint

    against the proper in rem defendant. As a result, the FAC is time-barred and must be dismissed.

           A.      The First Amended Complaint Is Untimely Under 18 U.S.C. § 984(b)

           The FAC must be dismissed because it is subject to a one-year statute of limitations that

    began running no later than the November 2020 sale of PNC Plaza to Firm A that was conducted

    under the supervision and with the approval of the Government. The one-year limitations period

    applies because the FAC does not plead, with particularity, that the current in rem Defendant, CBD

    500’s portion of the proceeds arising out of the aforementioned sale, is traceable to any specified

    unlawful conduct.

           Pursuant to 18 U.S.C. § 984(b), an action that seeks the forfeiture of cash that cannot be

    directly traced to an offense must be filed within one year of that offense. Id. (“No action pursuant

    to this section to forfeit property not traceable directly to the offense that is the basis for the



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   forfeiture may be commenced more than 1 year from the date of the offense.”). As detailed in

   Section II, infra, the FAC does not plausibly allege a traceable connection between the in rem

   Defendant—$9.1 million in proceeds derived from the November 2020 sale of PNC Plaza—and

   the alleged 2011 misappropriation of funds from PrivatBank via the PrivatBank Loans, or any

   other specified unlawful activities. Therefore, the claims in the FAC are subject to the one-year

   statute of limitations set by 18 U.S.C. § 984(b).3

          The latest possible “offense” described in the FAC is the November 2020 Government-

   approved and supervised sale of PNC Plaza to Firm A. FAC at ¶¶ 27, 165 (“The sale was

   consummated on November 17, 2020, and, by order of the Court, the net proceeds of the sale . . .

   w[ere] restrained and held by the USMS in escrow.”). Thus, the applicable one-year limitations

   period expired no later than November 17, 2021, more than a year prior to the Government’s filing

   of the FAC in January 2023. Accordingly, the FAC is time-barred and must be dismissed.

          B.      The Relation Back Doctrine Does Not Apply

          The FAC’s untimeliness cannot be remedied or forgiven by application of the relation back

   doctrine, which does not apply here because the Government’s decision to file the initial complaint

   in this action against an improper res was an intentional and strategic choice, not a mistake. Thus,

   the relation back doctrine does not apply and the FAC is time-barred.




   3
     Section 984(b) applies notwithstanding that the FAC seeks relief under 18 U.S.C. § 981. It is
   well established that section 984(b) applies to actions brought under section 981 where, as here,
   the Government fails to adequately trace the property at issue to the alleged offense. See United
   States v. $8,221,877.16 in U.S. Currency, 330 F.3d 141, 158-59 (3d Cir. 2003) (applying section
   984 to a complaint seeking relief under 18 U.S.C. § 981, reasoning “section 984 is not by its terms
   a separate action for forfeiture. Rather, it applies to, and modifies the requirements of, forfeiture
   actions in which the subject property is cash or other fungible property.”); United States v.
   $61,900.00, 2010 WL 11623206, at *3–4 (E.D.N.Y. Sept. 8, 2010) (While section 984(d) allows
   “the Government to forfeit traceable, fungible property using § 981” the Government must use §
   984 “when money is not traceable directly to the offense.”) (internal quotations omitted).
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          Rule 15(c)(1) applies if “the amendment changes the party or the naming of the party

   against whom a claim is asserted[.]” That is exactly what the Government did here by swapping

   the prior defendant (corporate rights) for cash (fungible property). As relevant here, Federal Rule

   of Civil Procedure 15 provides that an amended pleading that changes the party against whom a

   claim is asserted relates back to the original pleading only when the newly-named party

   “(i) received such notice of the action that it will not be prejudiced in defending on the merits; and

   (ii) knew or should have known that the action would have been brought against it, but for a

   mistake concerning the proper party’s identity.” Fed. R. Civ. P. 15(c)(1)(C).

          The law is clear that the relation back doctrine only applies to a newly-named defendant

   when the failure to name that defendant in the original complaint was a mistake. See Powers v.

   Graff, 148 F.3d 1223, 1226 (11th Cir. 1998) (“The Rule permits an amendment to relate back only

   where there has been an error made concerning the identity of the proper party . . . .”); Lelieve v.

   Orosa, 2011 WL 5103949, at *4 (S.D. Fla. Oct. 27, 2011) (“A key requirement for relation back

   under Rule 15(c)(1)(C) is that the plaintiff ha[s] made a ‘mistake.’”). Indeed, whether the omission

   of the newly-named Defendant was a mistake or not is a threshold issue in determining whether

   relation back applies, and if a “court determines that no ‘mistake’ was made, it is irrelevant whether

   the to-be-joined party received notice and would not be prejudiced.” Id. at *4, see also Rodriguez

   v. Quiñones, 508 F. Supp. 3d 1198, 1202 (S.D. Fla. 2020) (“a finding of a mistake is necessary

   before moving on to the other requirements” of Rule 15(c)(1)(C)) (citations omitted). The relation

   back doctrine does not apply where the plaintiff makes a “deliberate decision not to sue a party

   whose identity plaintiff knew from the outset,” which even “the most liberal interpretation of

   ‘mistake’ cannot include.” Powers 148 F.3d at 1227 (quoting Wells v. HBO & Co., 813 F. Supp.

   1561, 1567 (N.D. Ga. 1992)).



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          Here, there is no doubt the Government’s failure to name the instant defendant in rem as a

   defendant in its initial complaint or otherwise within the applicable limitations period was not a

   mistake. Rather, when the Government filed its initial complaint on August 6, 2020, it made a

   conscious choice to name as the in rem defendant not PNC Plaza itself, but instead “all right to

   and interest in PNC Corporate Plaza Holdings LLC held, controlled, or acquired, directly or

   indirectly, by Optima CBD Investments LLC and/or CBD 500 LLC, including any interest held in

   or secured by the real property located at 500 West Jefferson Street, Louisville, KY 404202.” Case

   No. 20-cv-23279, D.E. 1 ¶ 10.

          Claimants moved to dismiss that complaint in May 2021, in part on the grounds that the

   Government had named an improper res as the defendant. See Case No. 20-cv-23279, D.E. 78. In

   response, the Government did not concede or acknowledge that it made a mistake in identifying

   the wrong defendant. The Government did not seek to amend its complaint to name a proper in

   rem defendant after the November 2020 sale of PNC Plaza, or after Claimants raised the issue in

   May 2021. To the contrary, the Government argued strenuously, for well over a year, that it

   considered other potential defendants, and made the deliberate and intentional decision to name

   the corporate interests as the in rem defendant in its original complaint. In briefing the issue to the

   magistrate judge, the Government wrote:

                  The government chose to forfeit that corporate interest in the
                  building, rather than the building itself, because there was a pending
                  sale when it brought the forfeiture action, and an action against the
                  building itself would likely have disrupted that sale, including by
                  prejudicing the rights and interests in the company and the property
                  of the third-party investor.

   Case No. 20-cv-23278, D.E. 153 at 5 (emphasis added). The Government further asserted that it

   had correctly named the in rem defendant—i.e., it had not made a mistake—and that the Court

   should recognize the Government’s “crafted” and “more precise approach.” Id.; see also Renewed

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   Motion to Dismiss Hearing Tr. at 79:18-22 (July 8, 2022) (the Government stating that it made “a

   very intentional decision in order not to bring a forfeiture action against property . . . .”) (emphasis

   added).

             Magistrate Judge Goodman recognized the Government’s deliberate choice in the R&R,

   noting that the Government had intentionally named an intangible corporate interest rather than a

   tangible asset for strategic purposes:

                    The United States has not convinced the Undersigned that its
                    decision to pursue an unorthodox forfeiture strategy did not result
                    in a jurisdictional defect arising from the naming of an incorrect in
                    rem defendant. By choosing to not name the real property as the in
                    rem Defendant, the United States has, in effect, opted to pursue
                    what seems more like an in personam action or perhaps a quasi in
                    rem claim.

   Case No. 20-cv-23278, D.E. 164 at 69 (emphasis added).

             The record thus shows the Government’s deliberate choice to proceed against the initial

   defendant was intentional and not in any way a mistake, and the Government may not now claim

   otherwise. The Government’s intentional decision, which it defended repeatedly and vociferously,

   is “the antithesis of making a mistake concerning the proper party’s identity,” which is the basis

   for permitting relation back. Krupski v. Costa Crociere S.p.A., 560 U.S. 538, 549 (2010); see also

   Powers, 148 F.3d at 1228 (where “Plaintiffs made a ‘deliberate decision’ not to sue” certain

   defendants, they were not entitled to the benefit of “relation back under Rule 15”).

             In this case, the Government is not a plaintiff who misunderstands a potential defendant’s

   “status or role in the events giving rise to the claim at issue” and who then sues the wrong

   “defendant based on that misimpression.” Krupski, 560 U.S. at 549. Instead, the Government was

   aware of the potential in rem defendant it now seeks to proceed against no later than November

   2020, and rather than amend its complaint at any time in the one year after the sale of PNC Plaza,

   the Government insisted that it had not made a mistake in choosing to proceed against the initial
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   in rem defendant. For more than a year the Government argued against any finding that it had

   mistakenly named the wrong defendant, and it chose to litigate the issue extensively, and beyond

   the expiration of the statute of limitations. Having led the parties down that path, the Government

   may not now claim mistake to obtain the benefit of Rule 15’s relation back provision. Indeed, here,

   any mistake on the Government’s part “was a mistake in legal judgment, not a mistake in the

   naming of the party, and thus it is not covered by Rule 15(c).” Nobles v. Rural Cmty. Ins. Servs.,

   303 F. Supp. 2d 1279, 1287 (M.D. Ala. 2004); see also Scott v. Safeco Ins. Co. of Indiana, 2020

   WL 4934486, at *4 (N.D. Ga. June 24, 2020) (“The Eleventh Circuit has not recognized a mistake

   of law as a ‘mistake’ under Rule 15(c)(1)(C), and several district courts to have addressed this

   issue within the Eleventh Circuit have specifically rejected it.”).

          Given the foregoing, the FAC is time-barred and does not relate back to the original

   complaint, and this Court should dismiss the FAC with prejudice.

 II.      The FAC Fails to Adequately Plead a Substantial Connection

          The Government’s forfeiture claims in the FAC also fail because, even after being

   instructed by the Court to “firm up, clarify and explain in more-precise factual terms the theory

   used to support the claim for the forfeitability of the proceeds” (R&R at 81-82), it has not done so.

   D.E. 169 at 5. The Government has not alleged, and cannot allege, a viable connection, let alone a

   substantial one, between the defendant asset—the $9.1 million of proceeds from the November

   2020 sale of PNC Plaza belonging to CBD 500—and the underlying offense, the alleged

   misappropriation of funds from PrivatBank through fraudulent loans in violation of Ukrainian law.

          To state a cognizable forfeiture claim under either Section 981(a)(1)(C) or Section

   981(a)(1)(A), the Government must allege “sufficiently detailed facts” demonstrating that a

   “substantial connection,” or nexus, exists between the defendant asset and alleged criminal



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   activity. 18 U.S.C. § 983(c)(3); $38,00 in U.S. Currency, 816 F.2d at 1548 (affirming dismissal of

   complaint for failure to allege sufficient facts demonstrating a substantial connection); see also

   United States v. Any & All Ownership Int. Held in the Name, No. 16-9158, 2020 WL 278762, at

   *9 (D.N.J. Jan. 16, 2020) (“the plain language of the relevant provisions indicates that the stated

   nexus—involved in, traceable to, and proceeds—is an element of the civil forfeiture claims” and,

   “at a minimum, the Government must plausibly plead the requisite connection between the

   underlying offense and the seized property”). Here, the FAC not only fails to adequately plead

   such a nexus, the Government’s allegations affirmatively disprove any connection, substantial or

   otherwise, between funds purportedly obtained unlawfully from PrivatBank and the proceeds that

   constitute the defendant asset.

          The gravamen of the FAC is that $13 million of the $77 million used to purchase PNC

   Plaza in 2011 derived from an alleged “foreign bank fraud,” in violation of Ukrainian law, 4 carried

   out by Kolomoisky and Boholiubov, who at the time were the majority shareholders of PrivatBank.

   See FAC ¶¶ 106, 109-110, 134-137. But as alleged, six years after the 2011 purchase of PNC Plaza,

   (and two years after PrivatBank was nationalized in 2016), PNC Plaza went into foreclosure, and

   in 2018 the property was acquired by the Joint Venture via the acquisition of the mortgage by Firm

   A and the subsequent transfer from Optima 500 of a deed in lieu of foreclosure to the Joint Venture.

   See id. ¶¶ 138-142, 148-152. The FAC alleges that the funds used by the Joint Venture to acquire

   PNC Plaza derived from two sources: a $17 million loan the Joint Venture took out from a third-

   party lender, and a $10 million contribution from Korf, Laber, and Firm A. See id. ¶ 154.




   4 As a threshold matter, the Government has failed to allege “sufficiently detailed facts” to support

   a reasonable belief that it will prove the existence of any underlying criminal conduct.
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          The Government acknowledges that the funds contributed by Firm A were not substantially

   connected to any unlawful activity. See id.¶ 142, fn. 10 (“Firm A was an unrelated third-party

   investor, which… had no connection to the Optima Family of companies or Kolomoisky and

   Boholiubov’s misappropriation scheme from PrivatBank.”). With respect to the $9.5 million

   contributed by Korf and Laber, the FAC alleges those funds were provided by FTA. See id. ¶ 155.

   The FAC also alleges that Korf and Laber “injected more money into PNC Plaza” via Optima 1375

   II. Id. ¶ 157. Crucially, however, the FAC does not contain a single allegation concerning the

   source of the funds provided by FTA or Optima 1375 II, in connection with the 2018 purchase of

   PNC Plaza or otherwise, let alone specific allegations tracing those funds to specified unlawful

   activities. See generally, FAC. There are no allegations tracing the purportedly illicit proceeds of

   the PrivatBank Loans to FTA or Optima 1375 II. There are no allegations that the funds from FTA

   or Optima 1375 II derived from other purportedly fraudulent PrivatBank loans, or that those funds

   were substantially connected to any unlawful activity of any kind.

          Rather, in pure conclusory fashion, the Government alleges that the “use of funds

   purportedly” from those companies “allowed Korf and Laber to continue owning” PNC Plaza, and

   to “conceal[] and disguise[e] the nature, location, source, ownership, and control of the

   misappropriated funds.” Id. ¶ 160. That conclusory assertion, unsupported by any specific

   allegations, does not adequately plead a substantial connection between the $9.1 million in

   proceeds that the FAC names as the defendant in rem, and any unlawful activity, requiring

   dismissal of the Government’s claims. See United States v. Wood, 2016 WL 8131221, at *3 (E.D.

   Ky. Oct. 17, 2016) (rejecting 981(a)(1)(C) forfeiture claim because “condo-related sale proceeds”

   were not traceable to underlying offenses and Government’s “inferential assertion that” the owner

   “could not have purchased the condo but for the alleged criminal conduct” was inadequate); see



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   also United States v. $688,670.42 Seized from Regions Bank Acct. No. XXXXXX5028, 449 F.

   App’x 871, 877 (11th Cir. 2011) (“Section 981(a)(1)(C) confines the forfeiture to the proceeds of

   unlawful activity.”) (emphasis in original); Section 981(a)(1)(A) (providing for forfeiture of

   property involved in money laundering transactions) (emphasis added). For this reason, the

   Government has not, and cannot, establish a substantial connection between the defendant asset

   and the alleged underlying offense, requiring dismissal of the FAC with prejudice.

           In this regard the FAC suffers from the same fatal defect as the Government’s original

   complaint—the Government is operating on the theory that “Korf and Laber are personally

   culpable, based on prior acts,” and the defendant asset is subject to forfeiture because Korf and

   Laber “stood on both sides of” the 2018 sale of PNC Plaza. R&R at 71. As Magistrate Judge

   Goodman held, however, this theory renders the claims in the FAC essentially in personam in

   nature, which is improper because civil forfeiture is “not an action against the claimant [owner].”

   Id. (citing $38,00 in U.S. Currency, 816 F.2d at 1543). The Court should not countenance the

   Government’s efforts to improperly pursue in personam claims under the guise of an in rem civil

   forfeiture action, and the FAC should be dismissed.

    III.   Jurisdiction Was Lacking Over the Original Complaint And Cannot Be Cured

           The Government’s initial complaint was dismissed for a jurisdictional defect. See. R&R at

   71. Jurisdiction is measured at time of filing. Grupo Dataflux v. Atlas Glob. Grp., L.P., 541 U.S.

   567, 570-71, 582 (2004). Moreover, lack of jurisdiction cannot be cured by amendment and

   switching in a new defendant. See Newman-Green, Inc. v. Alfonzo Larrain, 490 U.S. 826, 831

   (1989); Brandenburg v. Bd. of Regents of Univ. Sys. of Georgia, 518 F. App’x 628, 631 (11th Cir.

   2013). Consequently, the United States cannot avoid dismissal here by amending its complaint to

   add a “proper” defendant; it must file a new suit against this “proper” defendant. To be sure, this



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   is not merely an academic issue, as the difference between dismissal and amendment could have

   meaningful consequences in connection with the applicable statutes of limitations.

                                           CONCLUSION

          This Court should dismiss this action with prejudice and order the immediate return of the

   seized funds.

                                     REQUEST FOR HEARING

          Pursuant to Local Rule 7.1(b)(2), the Claimants hereby request a hearing on this motion

   because of the substantial and complex legal issues raised, the importance of the rights at stake,

   and the utility of discussing the factual nuances of the case. Claimants estimate that no more than

   one and a half hours will be required for argument.

                                                Respectfully submitted,

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